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                          EXHIBIT 2A
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                                        February 15. 2021

VIA ELECTRONIC MAIL
Mr. Jay Prabhu and Mr. William G. dayman
Assistant United States Attorneys
United States Attorney’s Office for the Eastern District of Virginia
2100 Jamieson Avenue
Alexandria, VA 22314
Jav.Prabhu@usdoi.tzov and William.G.Clavman@usdoi.izov

        Re: United States v. Zachary Ellis Sanders^ l:20-cr-00143

Dear Jay and Bill,

        We ar'e writing to request the opportunity to examine a full forensic copy of the iPhone
(1B27)seized from Mr. Sanders’s home during the execution of the search warrant, as well as a
copy of the Cellebrite extraction report with active links to images/chats on the phone. We are
also requesting that Mr. Sanders be present for the entirety of the review. Access to the iPhone’s
hard drive is material to the preparation of the defense because, among other things, it is
necessary to (1) provide additional context for the jury to understand the relationships between
Mr. Sanders and the alleged minor victims,(2) defend against the allegations that Mr. Sanders’s
predominant purpose was to produce a visual depiction of sexually explicit conduct, and (3)
impeach the testimony of alleged minor victims 1 and 5 at trial.

         In order to conduct a full examination of the iPhone and Cellebrite extraction report, we
are requesting that the government make available a stand-alone computer with enough memory
and processing power to enable counsel and the defendant to view the contents of the phone in
its original format and to make use of active links in the Cellebrite report. We are also
requesting that the computer be connected to a large TV screen or monitor so that counsel and
the defendant can view the contents of the iPhone while maintaining a safe distance from each
other.

        On January 29, 2021, you informed us by email that ”[t]here is no feasible way to review
the entirety” of the forensic copy of the iPhone(1B27) or the Cellebrite extraction report at the
U.S. Attorney’s Office because “[ojpening and processing 1B27 requires a powerful, stand-alone
computer, like the one [the Government] made available for [jour examiner to review 1B27 at
the FBI on Jan. 27 and Jan. 28, and [you] do not have that at [the U.S. Attorney’s] Office.”


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         During previous reviews, the government provided access to copies of more than 750,000
files in no meaningful order. The files were not in their original format, lacked certain metadata,
and gave limited indication of where they were stored on the phone. Without access to the
iPhone in its original format, Mr. Sanders cannot search the phone for exculpatory evidence or
prepare to refute the government’s allegations. Nor can he make effective use of the Cellebrite
report. We estimate that it would take more than 2,000 hours to review the more than 750,000
files in the format in which they were previously produced.

        We therefore request that you either make the necessary arrangements to provide a
sufficiently powerful, stand-alone computer at the U.S. Attorney’s Office or for Mr. Sanders to
be transported to an FBI facility where such a computer is available. Mr. Sanders’s presence is
required in order to locate and make sense of the evidence contained on the iPhone and,
therefore, to prepare his defense.

        After completing our examination of the iPhone (1B27)and related Cellebrite extraction
report, we will also need to examine forensic copies of additional devices seized during the
execution of the search warrant, as well as the related UFED files/Cellebrite extraction reports,
which relate to the remaining charges.

        Finally, we also need access to forensic copies of the devices obtained from or belonging
to any of the alleged minor victims, as well as the related UFED files/Cellebrite extraction
reports.

        We would be happy to discuss arrangements for making this evidence available. Given
the current trial date of April 26, 2021, and the health and safety precautions required by
COVID, we would like to do so at your earliest convenience.

       Thank you in advance for your prompt attention to this matter.

                                                            Sincerely,




                                                            Jonathan Jeffress



                                                             Nina Ginsberg

                                                             Counselfor Zachary Ellis Sanders




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